 Fill in this information to identify the case:

  Debtor 1       Wesley Matthew Kunkel

  Debtor 2

 United States Bankruptcy Court for the: Middle District of Pennsylvania

 Case number :    1:23-bk-01205-HWV



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                      12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to
your proof of claim at least 21 days before the new payment is due. See Bankruptcy Rule 3002.1.
     Name of              US Bank Trust National Association, Not In Its Individual Court claim no.                                                            1
     creditor:            Capacity But Solely As Owner Trustee For VRMTG Asset (if known):
                          Trust

     Last 4 digits of any number                                                                      Date of payment change:                     05/01/2024
     you use to identify the debtor's                                      9102                       Must be at least 21 days after date of
     account:                                                                                         this notice

                                                                                                      New total payment:                           $872.54
                                                                                                      Principal, interest, and escrow, if any


Part 1:      Escrow Account Payment Adjustment

1.   Will there be a change in the debtor's escrow account payment?
      [ ] No
      [X] Yes. Attach a copy of the escrow account statement prepared in a form consistent with the applicable nonbankruptcy law. Describe
                      the basis for the change. If a statement is not attached, explain why:

                            Current escrow payment: $396.03                                New escrow payment: $400.42




Part : 2     Mortgage Payment Adjustment

2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
   variable-rate account?
      [X] No
      [ ] Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a
                     notice is not attached, explain why:

                     Current interest rate:                                       New interest rate:
                     Current Principal and interest payment:                      New principal and interest payment:



Part 3:      Other Payment Change

3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
       [X] No
       [ ] Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                      agreement. (Court approval may be required before the payment change can take effect).
                      Reason for change:
                          Current mortgage payment:                                        New mortgage payment:




Official Form 410S1                                                 Notice of Mortgage Payment Change                                                  page 1

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Debtor 1 Wesley Matthew Kunkel                                                      Case number (if known)           1:23-bk-01205-HWV
                First Name              Middle Name          Last Name




Part 4:           Sign Below

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

Check the appropriate box:

[ ] I am the creditor.
[X] I am the creditor's attorney or authorized agent.

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.


     /s/ Christopher Giacinto                                                             Date   04/02/2024
    Signature



Print:                       Christopher Giacinto                              Title Authorized Agent for Creditor

Company                      Padgett Law Group

Address                      6267 Old Water Oak Road, Suite 203

                             Tallahassee FL, 32312

Contact phone                (850) 422-2520                 Email              PLGinquiries@padgettlawgroup.com




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                                       CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to the parties

on the attached Service List by electronic service and/or by First Class U.S. Mail on this the 2nd day of

April, 2024.



                                                     /S/ Christopher Giacinto

                                                     ___________________________________
                                                     CHRISTOPHER GIACINTO
                                                     PADGETT LAW GROUP
                                                     6267 Old Water Oak Road, Suite 203
                                                     Tallahassee, FL 32312
                                                     (850) 422-2520 (telephone)
                                                     (850) 422-2567 (facsimile)
                                                     PLGinquiries@padgettlawgroup.com
                                                     Authorized Agent for Creditor




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                            SERVICE LIST (CASE NO. 1:23-bk-01205-HWV)

Debtor
Wesley Matthew Kunkel
2225 Copenhaffer Rd
Dover, PA 17315-1839

Attorney
Michael A. Cibik
Cibik Law, P.C.
1500 Walnut Street
Suite 900
Philadelphia, PA 19102

Trustee
Jack N Zaharopoulos
Standing Chapter 13
(Trustee)
8125 Adams Drive, Suite A
Hummelstown, PA 17036


Asst. U.S. Trustee
United States Trustee
US Courthouse
1501 N. 6th St
Harrisburg, PA 17102




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Official Form 410S1                Main Document
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                                           of Mortgage Payment of 6                      page 4
                                                                Shellpoint Mortgage Servicing
                                                                Servicing
                                                                PO Box 10826
                                                                Greenville, SC 29603 0826
                                                                For Inquiries: (800) 365-7107

                                                                                                               Analysis Date:                                    March 13, 2024
       WESLEY KUNKEL                                                                                           Loan:
       2225 COPENHAFFER RD                                                                                     Property Address:
       DOVER PA 17315                                                                                          2225 COPENHAFFER RD
                                                                                                               DOVER, PA 17315




                                                Annual Escrow Account Disclosure Statement - Account History
        THIS NOTICE IS BEING PROVIDED PURSUANT TO THE REAL ESTATE SETTLEMENT PROCEDURES ACT AND REGULATION X. TO THE EXTENT THE LOAN
      DESCRIBED BELOW IS INCLUDED IN AN ACTIVE BANKRUPTCY CASE OR IS SUBJECT TO A BANKRUPTCY DISCHARGE, THIS NOTICE IS BEING PROVIDED FOR
           INFORMATIONAL PURPOSES ONLY AND IS NOT A DEMAND FOR PAYMENT OR AN ATTEMPT TO COLLECT THE DEBT FROM YOU PERSONALLY

     The following is an overview of your escrow account with Shellpoint Mortgage Servicing. It contains the history of escrow payments made on your
     behalf in the prior year, and a snapshot of the anticipated disbursements for the coming year. Any potential adjustments due to increases or
     decreases with your escrow items may affect your monthly escrow payment. If your escrow payment increases, your monthly payment will also
     increase. If the escrow payment decreases, your mortgage payment will decrease.
Payment Information       Contractual Effective May01, 2024             Prior Esc Pmt          August 01, 2023         Escrow Balance Calculation
P & I Pmt:                    $472.12                     $472.12       P & I Pmt:                      $472.12        Due Date:                                  January 01, 2023
Escrow Pmt:                     $0.00                     $400.42       Escrow Pmt:                     $396.03        Escrow Balance:                                    -$895.59
Other Funds Pmt:                $0.00                       $0.00       Other Funds Pmt:                  $0.00        Anticipated Pmts to Escrow:                      $4,356.33
Asst. Pmt (-):                  $0.00                       $0.00       Asst. Pmt (-):                    $0.00        Anticipated Pmts from Escrow (-):                   $890.61
Reserve Acct Pmt:               $0.00                       $0.00       Resrv Acct Pmt:                   $0.00
Total Payment:                $472.12                     $872.54       Total Payment:                  $868.15        Anticipated Escrow Balance:                        $2,570.13

Shortage/Overage Information                      Effective May01, 2024           Cushion Calculation: Because Shellpoint Mortgage Servicing does not set your tax
Upcoming Total Annual Bills                                     $4,753.02         amounts or insurance premiums, your escrow balance contains a cushion of 792.17.
Required Cushion                                                  $792.17         A cushion is an additional amount of funds held in your escrow in order to prevent the
Required Starting Balance                                       $2,674.13         balance from becoming overdrawn when an increase in the disbursement amount
Escrow Shortage                                                  -$104.00         occurs. Your lowest monthly balance should not be below 792.17 or 1/6 of the
Surplus                                                             $0.00         anticipated payment from the account.


      ** Since you are in an ac ve bankruptcy, your new payment shown above is the post-pe on payment amount.
     This is a statement of actual activity in your escrow account from June2023 to Apr 2024. Last year's anticipated activity (payments to and from your
     escrow account) is next to the actual activity.
                         Payments to Escrow                  Payments From Escrow                                                  Escrow Balance
        Date             Anticipated      Actual             Anticipated       Actual                  Description                 Required             Actual
                                                                                                  Starting Balance                  1,778.73         (7,107.20)
       Jun 2023                396.03                                                      *                                        2,174.76         (7,107.20)
       Jun 2023                                                                   1,291.00 * Hazard                                 2,174.76         (8,398.20)
       Jul 2023                396.03                                                      *                                        2,570.79         (8,398.20)
       Aug 2023                396.03                                                      *                                        2,966.82         (8,398.20)
       Aug 2023                                                                   2,571.41 * School Tax                             2,966.82        (10,969.61)
       Sep 2023                396.03            396.03         2,570.78                   * School Tax                               792.07        (10,573.58)
       Oct 2023                396.03            396.03                                                                             1,188.10        (10,177.55)
       Nov 2023                396.03                                                         *                                     1,584.13        (10,177.55)
       Dec 2023                396.03                                                         *                                     1,980.16        (10,177.55)
       Jan 2024                396.03                                                         *                                     2,376.19        (10,177.55)
       Feb 2024                396.03                                                         *                                     2,772.22        (10,177.55)
       Mar 2024                396.03            396.03                                                                             3,168.25         (9,781.52)
       Apr 2024                396.03                             890.61                    * Town Tax                              2,673.67         (9,781.52)
                                                                                              Anticipated Transactions              2,673.67         (9,781.52)
       Apr 2024                               4,356.33 P                            890.61    Town Tax                                               (6,315.80)
                            $4,356.33         $5,544.42        $3,461.39          $4,753.02
       An asterisk (*) indicates a difference from a previous estimate either in the date or the amount . If you want a further explanation, please call our toll -free number.
       P - The letter (P) beside an amount indicates that the payment or disbursement has not yet occurred but is estimated to occur as shown .




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                                                                 Shellpoint Mortgage Servicing
                                                                 For Inquiries: (800) 365-7107

                                                                                                                    Analysis Date:                                      March 13, 2024
                                                                                                                    Loan:

                                       Annual Escrow Account Disclosure Statement - Projections for Coming Year
     THIS NOTICE IS BEING PROVIDED PURSUANT TO THE REAL ESTATE SETTLEMENT PROCEDURES ACT AND REGULATION X. TO THE EXTENT THE LOAN
   DESCRIBED BELOW IS INCLUDED IN AN ACTIVE BANKRUPTCY CASE OR IS SUBJECT TO A BANKRUPTCY DISCHARGE, THIS NOTICE IS BEING PROVIDED FOR
        INFORMATIONAL PURPOSES ONLY AND IS NOT A DEMAND FOR PAYMENT OR AN ATTEMPT TO COLLECT THE DEBT FROM YOU PERSONALLY

  This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and from your account.
  Your unpaid pre-petition escrow Amount is $8,885.93. This amount has been removed from the projected starting balance.

  Original Pre-Petition Amouont $8,885.93, Paid Pre-Petition Amount $0.00, Remaining Pre-Petition Amount $8,885.93.
      Date                 Anticipated Payments                                                                        Escrow Balance
                         To Escrow        From Escrow           Description                                     Anticipated           Required
                                                                Starting Balance                                 2,570.13              2,674.13
  May 2024                  396.09         1,291.00             Hazard                                           1,675.22              1,779.22
  Jun 2024                  396.09                                                                               2,071.31              2,175.31
  Jul 2024                  396.09                                                                               2,467.40              2,571.40
  Aug 2024                  396.09                                                                               2,863.49              2,967.49
  Sep 2024                  396.09         2,571.41             School Tax                                          688.17               792.17
  Oct 2024                  396.09                                                                               1,084.26              1,188.26
  Nov 2024                  396.09                                                                               1,480.35              1,584.35
  Dec 2024                  396.09                                                                               1,876.44              1,980.44
  Jan 2025                  396.09                                                                               2,272.53              2,376.53
  Feb 2025                  396.09                                                                               2,668.62              2,772.62
  Mar 2025                  396.09                                                                               3,064.71              3,168.71
  Apr 2025                  396.09           890.61             Town Tax                                         2,570.19              2,674.19
                          $4,753.08        $4,753.02
   G – Pending Disbursements prior to the bankruptcy filing date. Pre-petition disbursements.

 (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)

 Your ending balance from the last month of the account history (escrow balance anticipated) is 2,570.13. Your starting
 balance (escrow balance required) according to this analysis should be $2,674.13. This means you have a shortage of 104.00.
 This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
 deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to collect it over 24 months.
 We anticipate the total of your coming year bills to be4,753.02. We divide that amount by the number of payments expected during the coming year to
 obtain your escrow payment.
  New Escrow Payment Calculation
   Unadjusted Escrow Payment                                           $396.09
   Surplus Reduction:                                                    $0.00
   Shortage Installment:                                                 $4.33
   Rounding Adjustment Amount:                                           $0.00
   Escrow Payment:                                                     $400.42
If you are a customer in bankruptcy or a customer who has received a bankruptcy discharge of this debt: please be advised that this notice is to advise you of the status of your mortgage loan
This notice constitutes neither a demand for payment nor a notice of personal liability to any recipient hereof, who might have received a discharge of such debt in accordance with applicable
bankruptcy laws or who might be subject to the automatic stay of Section362 of the United States Bankruptcy Code. However, it may be a notice of possible enforcement of the lien against the
collateral property, which has not been discharged in your bankruptcy.
Notice of Error or Information Request Address
You have certain rights under Federal law related to resolving errors in the servicing of your loan and requesting information about your loan. If you want to request information about your loan
or if you believe an error has occurred in the servicing of your loan and would like to submit an Error Resolution or Information Request, please write to us at the following address:
Shellpoint Mortgage Servicing
PO Box 10826
Greenville, SC 29603 0826




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